     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.1 Page 1 of 19




 1 David E. Bower (SBN 119546)
   MONTEVERDE & ASSOCIATES PC
 2
   600 Corporate Pointe, Suite 1170
 3 Culver City, CA 90230
   Tel: (213) 446-6652
 4
   Fax: (212) 202-7880
 5
   Counsel for Plaintiff
 6
 7                        UNITED STATES DISTRICT COURT
 8               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9 GORDON LINK, Individually and on             CIVIL ACTION NO. '18CV2336 BAS WVG
10 Behalf of All Others Similarly
   Situated,                                    CLASS ACTION COMPLAINT
11                         Plaintiff,
12                                              DEMAND FOR JURY TRIAL
                  v.
13 SENOMYX, INC., KENT SNYDER,                     1. VIOLATIONS OF SECTION
14 JOHN POYHONEN, STEPHEN A.
   BLOCK, TOM ERDMANN, MARY
                                                      14(E) OF THE SECURITIES
                                                      EXCHANGE ACT OF 1934
15 ANN GRAY, DAN STEBBINS, and
   CHRISTOPHER J. TWOMEY,                          2. VIOLATIONS OF SECTION
16                                                    20(A) OF THE EXCHANGE
                   Defendants.                        ACT
17
18
19         Gordon Link (“Plaintiff”), by his undersigned attorneys, alleges upon personal
20 knowledge with respect to himself, and upon information and belief based upon,
21 inter alia, the investigation of counsel as to all other allegations herein, as follows:
22                              NATURE OF THE ACTION
23         1.     This action is brought as a class action by Plaintiff on behalf of himself
24 and the other public holders of the common stock of Senomyx, Inc. (“Senomyx” or
25 the “Company”) against Senomyx and the members of the Company’s board of
26 directors (collectively, the “Board” or “Individual Defendants,” and, together with
27
28
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.2 Page 2 of 19



 1 Senomyx, the “Defendants”) for their violations of Sections 14(e) and 20(a) of the
 2 Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(e) and
 3 78t(a) in connection with the tender offer (“Tender Offer”) by Firmenich
 4 Incorporated, through its subsidiary (collectively “Firmenich”), to acquire all of the
 5 issued and outstanding shares of Senomyx (the “Proposed Transaction”).
 6        2.     On September 16, 2018, Senomyx entered into a definitive agreement
 7 and plan of merger (the “Merger Agreement”), whereby shareholders of Senomyx
 8 common stock will receive $1.50 in exchange for each share of Senomyx they own
 9 (the “Offer Price”).
10        3.     On October 4, 2018, in order to convince Senomyx shareholders to
11 tender their shares, the Board authorized the filing of a materially incomplete and
12 misleading     Schedule    14D-9     solicitation/recommendation     statement    (the
13 “Recommendation Statement”) with the Securities and Exchange Commission
14 (“SEC”). In particular, the Recommendation Statement contains materially
15 incomplete and misleading information concerning: (i) the Company’s financial
16 projections; (ii) the valuation analyses performed by the Company’s financial
17 advisor, Needham & Company, LLC (“Needham”); (iii) potential conflicts of
18 interest faced by the Company’s other financial advisor Conexus Capital Advisors,
19 Inc. (“Conexus”).
20        4.     The Tender Offer is scheduled to expire at 12:00 midnight Eastern Time
21 on November 2, 2018 (the “Expiration Date”). It is imperative that the material
22 information that has been omitted from the Recommendation Statement is disclosed
23 to the Company’s shareholders prior to the forthcoming Expiration Date so they can
24 properly determine whether to tender their shares.
25        5.     For these reasons, and as set forth in detail herein, Plaintiff seeks to
26 enjoin Defendants from closing the Tender Offer or taking any steps to consummate
27 the Proposed Transaction, unless and until the material information discussed below
28 is disclosed to Senomyx shareholders or, in the event the Proposed Transaction is
                                           2
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.3 Page 3 of 19



 1 consummated, to recover damages resulting from the Defendants’ violations of the
 2 Exchange Act.
 3                            JURISDICTION AND VENUE
 4         6.    This Court has subject matter jurisdiction pursuant to Section 27 of the
 5 Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question
 6 jurisdiction) as Plaintiff alleges violations of Section 14(e) and 20(a) of the
 7 Exchange Act.
 8         7.    Personal jurisdiction exists over each Defendant either because the
 9 Defendant conducts business in or maintains operations in this District, or is an
10 individual who is either present in this District for jurisdictional purposes or has
11 sufficient minimum contacts with this District as to render the exercise of
12 jurisdiction over Defendant by this Court permissible under traditional notions of
13 fair play and substantial justice.
14         8.    Venue is proper in this District under Section 27 of the Exchange Act,
15 15 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391, because: (i) the conduct at issue
16 took place and had an effect in this District; (ii) Senomyx maintains its primary place
17 of business in this District; (iii) a substantial portion of the transactions and wrongs
18 complained of herein, including Defendants’ primary participation in the wrongful
19 acts detailed herein, occurred in this District; and (iv) Defendants have received
20 substantial compensation in this District by doing business here and engaging in
21 numerous activities that had an effect in this District.
22                                        PARTIES
23         9.    Plaintiff is, and at all relevant times has been, a shareholder of
24 Senomyx.
25         10.   Defendant Senomyx is a Delaware corporation and maintains its
26 principal executive office at 4767 Nexus Centre Drive, San Diego, California 92121.
27 Senomyx discovers and develops novel flavor ingredients and natural high intensity
28
                                            3
                                 CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.4 Page 4 of 19



 1 sweeteners. The Company’s common stock trades on the NASDAQ under the ticker
 2 symbol “SNMX”.
 3         11.   Individual Defendant Kent Snyder is a director of Senomyx and is the
 4 Chairman of the Board.
 5         12.   Individual Defendant John Poyhonen is a director of Senomyx and is
 6 the President and Chief Executive Officer of the Company.
 7         13.   Individual Defendant Stephen A. Block is, and has been at all relevant
 8 times, a director of the Company.
 9         14.   Individual Defendant Tom Erdmann is, and has been at all relevant
10 times, a director of the Company.
11         15.   Individual Defendant Mary Ann Gray is, and has been at all relevant
12 times, a director of the Company.
13         16.   Individual Defendant Dan Stebbins, and has been at all relevant times,
14 a director of the Company.
15         17.   Individual Defendant Christopher J. Twomey, and has been at all
16 relevant times, a director of the Company.
17         18.   The defendants identified in paragraphs 10-17 are collectively referred
18 to as the “Defendants”.
19                         CLASS ACTION ALLEGATIONS
20         19.   Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf
21 of himself and the other public shareholders of Senomyx (the “Class”). Excluded
22 from the Class are Defendants herein and any person, firm, trust, corporation, or
23 other entity related to or affiliated with any Defendant.
24         20.   This action is properly maintainable as a class action because:
25               a.     The Class is so numerous that joinder of all members is
26         impracticable. As of the close of business on September 24, 2018, there were
27         48,989,475 shares issued and outstanding, held by hundreds to thousands of
28         individuals and entities scattered throughout the country. The actual number
                                           4
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.5 Page 5 of 19



 1        of public shareholders of Senomyx will be ascertained through discovery;
 2              b.     There are questions of law and fact that are common to the Class
 3        that predominate over any questions affecting only individual members,
 4        including the following:
 5                     i)     whether Defendants have misrepresented or omitted
 6                            material information concerning the Proposed Transaction
 7                            in the Recommendation Statement, in violation of
 8                            Sections 14(e) of the Exchange Act;
 9                     ii)    whether the Individual Defendants have violated Section
10                            20(a) of the Exchange Act; and
11                     iii)   whether Plaintiff and other members of the Class will
12                            suffer irreparable harm if compelled to tender their shares
13                            based on the materially incomplete and misleading
14                            Recommendation Statement;
15              c.     Plaintiff is an adequate representative of the Class, has retained
16        competent counsel experienced in litigation of this nature, and will fairly and
17        adequately protect the interests of the Class;
18              d.     Plaintiff’s claims are typical of the claims of the other members
19        of the Class and Plaintiff does not have any interests adverse to the Class;
20              e.     The prosecution of separate actions by individual members of the
21        Class would create a risk of inconsistent or varying adjudications with respect
22        to individual members of the Class, which would establish incompatible
23        standards of conduct for the party opposing the Class;
24              f.     Defendants have acted on grounds generally applicable to the
25        Class with respect to the matters complained of herein, thereby making
26        appropriate the relief sought herein with respect to the Class as a whole; and
27              g.     A class action is superior to other available methods for fairly
28        and efficiently adjudicating the controversy.
                                           5
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.6 Page 6 of 19



 1                          SUBSTANTIVE ALLEGATIONS
 2 I.      Background and the Proposed Transaction
 3         21.   Senomyx, incorporated on September 16, 1998, is focused on using
 4 taste receptor technologies to discover, develop, and commercialize flavor
 5 ingredients for the packaged food, beverage, and ingredient supply industries. The
 6 Company operates through development and commercialization of flavor
 7 ingredients segment. The Company is engaged in the discovery, development,
 8 and/or commercialization of flavor ingredients through its approximately five
 9 programs focused on sweet, savory, bitter, cooling, and salt taste areas. The
10 Company's taste receptor-based assays are used in its screening systems and for
11 screening its compound libraries and identifying flavor ingredients.
12         22.   Firmenich, designs, manufactures, markets, and distributes flavors and
13 fragrances. It offers natural and artificial butter flavorings. The company was
14 incorporated in 1950 and is based in Plainsboro, New Jersey. Firmenich
15 Incorporated operates as a subsidiary of Firmenich International SA.
16         23.   On September 17, 2018, Senomyx and Firmenich issued a joint press
17 release announcing the Proposed Transaction. The press release stated in relevant
18 part:
19         FIRMENICH TO ACQUIRE SENOMYX, PIONEER IN TASTE
                            INNOVATION
20
           Geneva, Switzerland, Princeton, New Jersey and San Diego,
21         California September 17th, 2018 – Firmenich and Senomyx, Inc.
           (NASDAQ: SNMX) today announced that they have entered into a
22         definitive merger agreement under which Firmenich will acquire all of
           the outstanding common stock of Senomyx for $1.50 per share in cash.
23         This represents a premium of approximately 43% over Senomyx’s
           closing price on September 14, 2018 and a premium of approximately
24         39% based on the prior 30-trading day volume-weighted average price
           (VWAP). The proposed transaction has been unanimously approved by
25         the Boards of Directors of both Firmenich and Senomyx. The
           companies expect to close the transaction in the fourth quarter of 2018.
26
           “Senomyx has established itself as a leader in taste innovation and a
27         recognized pioneer in sweet, cooling and bitter solutions,” said Patrick
           Firmenich, Chairman of the Board, Firmenich. “Building on our long-
28
                                           6
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.7 Page 7 of 19


          term partnership spanning more than a decade, we look forward to
 1        welcoming Senomyx into Firmenich to lead in taste and nutrition.”
 2        “We are excited to be joining Firmenich,” stated John Poyhonen,
          President and Chief Executive Officer of Senomyx. “Firmenich’s
 3        commitment to innovation and delivery of world-class
          commercialization capabilities combined with our long standing
 4        relationship makes this deal the ideal fit for our companies. We believe
          this merger will allow the Senomyx discoveries to reach their full
 5        potential. I would like to personally thank all our employees for their
          dedication and contributions in building a leading proprietary taste
 6        science technology platform that will benefit consumers around the
          globe well into the future.”
 7
          “Building on our world-class science and pioneering taste platform, this
 8        strategic acquisition confirms our commitment to being the partner of
          choice in taste and nutrition,” said Gilbert Ghostine, CEO Firmenich.
 9        “Adding Senomyx’s leading taste technologies and strong natural
          ingredients pipeline to our taste platform, uniquely positions us to
10        create healthy and great tasting food, drink and oral care experiences
          for our customers.”
11
          Upon closing, Senomyx will be integrated into Firmenich’s North
12        America Research & Development (R&D) organization and its
          products will be commercialized through its Taste Platform. Senomyx
13        R&D operations will remain in San Diego, with a continued focus on
          discovering and developing world-class flavor and sweetener solutions
14        for the world’s greatest brands. Firmenich looks forward to
          continuously advancing Senomyx’s innovative pipeline of products and
15        its discovery capabilities to shape the most differentiating natural taste
          solutions for its customers. Innovation-driven and recognized for its
16        world-class ingredient screening capabilities, Senomyx recently
          identified and has started to develop a high intensity and a clean tasting
17        sweetener, Siratose, which naturally occurs in Monkfruit.
18        Under the terms of the merger agreement, Firmenich will promptly
          commence a tender offer to acquire all of the outstanding shares of
19        Senomyx common stock for $1.50 per share in cash. Following the
          successful completion of the tender offer, Firmenich will acquire all
20        remaining shares not tendered in the tender offer. hrough a second-step
          merger at the same price as to be paid to stockholders tendering their
21        shares in the tender offer. The tender offer is expected to expire at one
          minute following 11:59 p.m., Eastern Time, on the 20th business day
22        after the launch of the tender offer, unless extended in accordance with
          the merger agreement and the applicable rules and regulations of the
23        Securities and Exchange Commission.
24        The consummation of the tender offer is subject to various conditions,
          including a minimum tender of a majority of outstanding Senomyx
25        shares and other customary conditions.
26        Senomyx’s financial advisors for the transaction are Needham &
          Company and Conexus Capital Advisors with Cooley LLP providing
27        legal advice. Firmenich’s financial advisor for the transaction is Piper
          Jaffray with Duane Morris LLP providing legal advice.
28
                                           7
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.8 Page 8 of 19



 1         24.   The Offer Price is inadequate consideration for Senomyx shareholders.
 2 Indeed, $1.50 represents a 12% discount to the Company’s 52-week high trading
 3 price. It is therefore imperative that shareholders receive the material information
 4 (discussed in detail below) that Defendants have omitted from the Recommendation
 5 Statement, which is necessary for shareholders to properly exercise their corporate
 6 suffrage rights and make an informed decision concerning whether to tender their
 7 shares in the Proposed Transaction.
 8 II.     The Recommendation Statement Is Materially Incomplete and
 9         Misleading
10         25.   On October 4, 2018, Defendants filed the Recommendation Statement
11 with the SEC. The Recommendation Statement has been disseminated to the
12 Company’s shareholders, and solicits the Company’s shareholders to tender their
13 shares in the Tender Offer. The Individual Defendants were obligated to carefully
14 review the Recommendation Statement before it was filed with the SEC and
15 disseminated to the Company’s shareholders to ensure that it did not contain any
16 material misrepresentations or omissions. However, the Recommendation Statement
17 misrepresents and/or omits material information that is necessary for the Company’s
18 shareholders to make an informed decision concerning whether to tender their
19 shares, in violation of Sections 14(e) and 20(a) of the Exchange Act.
20         26.   First, with respect to Needham’ Discounted Cash Flow Analysis, the
21 Recommendation Statement fails to disclose the following key components used in
22 the analysis: (i) what cash flows were actually used to derive the present value—
23 unlevered free cash flows or changes in cash balances “as a proxy” (the
24 Recommendation Statement is inconsistent on page 33); (ii) the inputs and
25 assumptions underlying the calculation of the discount rate range of 22.5% to 27.5%,
26 including (including WACC components); (iii) the value of the cash and debt
27 balances added and subtracted from implied present value ranges to arrive at the
28 illustrative implied present equity values; (iv) the actual terminal values calculated;
                                           8
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.9 Page 9 of 19



 1 and (v) complete and accurate information surrounding the “sensitivity analysis”
 2 including why Needham waited until two days before the Board voted on the Merger
 3 Agreement to introduce this concept, which lowered the valuation results.
 4        27.   These key inputs are material to Senomyx shareholders, and their
 5 omission renders the summary of Needham’ Discounted Cash Flow Analysis
 6 incomplete and misleading. As a highly-respected professor explained in one of the
 7 most thorough law review articles explaining the fundamental flaws with the
 8 valuation analyses bankers perform in support of fairness opinions: in a discounted
 9 cash flow analysis a banker takes management’s forecasts, and then makes several
10 key choices “each of which can significantly affect the final valuation.” Steven M.
11 Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices
12 include “the appropriate discount rate, and the terminal value…” Id. As Professor
13 Davidoff explains:
14        There is substantial leeway to determine each of these, and any change
          can markedly affect the discounted cash flow value. For example, a
15        change in the discount rate by one percent on a stream of cash flows in
          the billions of dollars can change the discounted cash flow value by tens
16        if not hundreds of millions of dollars…. This issue arises not only with
          a discounted cash flow analysis, but with each of the other valuation
17        techniques. This dazzling variability makes it difficult to rely, compare,
          or analyze the valuations underlying a fairness opinion unless full
18        disclosure is made of the various inputs in the valuation process, the
          weight assigned for each, and the rationale underlying these choices.
19        The substantial discretion and lack of guidelines and standards also
          makes the process vulnerable to manipulation to arrive at the “right”
20        answer for fairness. This raises a further dilemma in light of the
          conflicted nature of the investment banks who often provide these
21        opinions.
22 Id. at 1577-78.
23        28.   Next, with respect to the Needham’s Selected Companies and Selected
24 Transactions Analyses, the Recommendation Statement fails to disclose the
25 individual multiples Needham calculated for each company and transaction utilized.
26 The omission of these multiples renders the summary of these analyses provided in
27 the Recommendation Statement misleading. A fair summary of companies and
28 transactions analyses requires the disclosure of the individual multiples for each
                                           9
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.10 Page 10 of 19



 1 company and transaction; merely providing the range that a banker applied is
 2 insufficient, as shareholders are unable to assess whether the banker applied
 3 appropriate multiples, or, instead, applied unreasonably low multiples in order to
 4 frame the Offer Price in the most favorable light – i.e. as low as possible.
 5 Additionally, neither of these analyses includes the per share equity value reference
 6 ranges almost universally utilized by financial advisors to value—and summarize to
 7 shareholders—merger and acquisition transactions. Accordingly, the omission of
 8 this material information renders the summaries provided in the Recommendation
 9 Statement misleading.
10         29.   Finally, the Recommendation Statement fails to disclose any details
11 surrounding the prior relationships between Conexus and either the Company or
12 Firmenich. Such information is plainly material to Senomyx shareholders. It is
13 imperative for shareholders to be able to understand what factors might influence
14 the financial advisor’s analytical efforts. A financial advisor’s own proprietary
15 financial interest in a transaction must be carefully considered when assessing how
16 much credence to give its advice. A reasonable shareholder would want to know
17 what important economic motivations that the advisor, employed by a board to
18 negotiate and conduct the sales process, might have. This is especially true when
19 that motivation could rationally lead the advisor to favor a deal at a less than optimal
20 price, because the procession of a deal was more important to them—given their
21 overall economic interest—than only approving a deal at truly fair price to
22 shareholders.
23         30.   On page 13, the Recommendation Statement specifically states that the
24 Company selected Conexus to be its financial advisor “based upon their knowledge
25 of the flavor ingredient industry, experience, reputation and familiarity with
26 companies in the industry including Firmenich.” However, the Recommendation
27 Statement fails to disclose any details about any prior relationship between Conexus
28 and either the Company or Firmenich. The omission of Conexus’ prior
                                            10
                                 CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.11 Page 11 of 19



 1 relationship(s) to Senomyx and Firmenich renders the statements disclosing
 2 Conexus’ potential conflicts provided in the Recommendation Statement materially
 3 incomplete and misleading.
 4         31.     In sum, the omission and/or misstatement of the above-referenced
 5 information renders statements in the Recommendation Statement materially
 6 incomplete and misleading in contravention of the Exchange Act. Absent disclosure
 7 of the foregoing material information prior to the expiration of the Tender Offer,
 8 Plaintiff and the other members of the Class will be unable to make a fully-informed
 9 decision regarding whether to tender their shares, and they are thus threatened with
10 irreparable harm, warranting the injunctive relief sought herein.
11                                         COUNT I
12 Claims Against All Defendants for Violations of Section 14(e) of the Exchange
13                                            Act
14         32.     Plaintiffs repeat and reallege the preceding allegations as if fully set
15 forth herein.
16         33.     Defendants caused the Recommendation Statement to be issued with
17 the intention of soliciting shareholder support of the Proposed Transaction.
18         34.     Section 14(e) of the Exchange Act provides that it is unlawful “for any
19 person to make any untrue statement of a material fact or omit to state any material
20 fact necessary in order to make the statements made, in the light of the circumstances
21 under which they are made, not misleading . . . in connection with any tender offer
22 or request or invitation for tenders, or any solicitation of security holders in
23 opposition to or in favor of any such offer, request, or invitation.” 15 U.S.C.
24 § 78n(e).
25         35.     Defendants violated this clause of Section 14(e) because they
26 negligently caused or allowed the Recommendation Statement to be disseminated to
27 Senomyx shareholders in order to solicit them to tender their shares in the Tender
28 Offer, and the Recommendation Statement contained untrue statements of material
                                             11
                                  CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.12 Page 12 of 19



 1 fact and/or omitted to state material facts necessary in order to make the statements
 2 made, in the light of the circumstances under which they were made, not misleading.
 3         36.   Defendants negligently omitted the material information identified
 4 above from the Recommendation Statement or negligently failed to notice that such
 5 material information had been omitted from the Recommendation Statement, which
 6 caused certain statements therein to be materially incomplete and therefore
 7 misleading. Indeed, while Defendants undoubtedly had access to and/or reviewed
 8 the omitted material information in connection with approving the Proposed
 9 Transaction, they allowed it to be omitted from the Recommendation Statement,
10 rendering certain portions of the Recommendation Statement materially incomplete
11 and therefore misleading. As directors and officers of Senomyx, the Individual
12 Defendants had a duty to carefully review the Recommendation Statement before it
13 was disseminated to the Company’s shareholders to ensure that it did not contain
14 untrue statements of material fact and did not omit material facts. The Individual
15 Defendants were negligent in carrying out their duty.
16         37.   Senomyx is imputed with the negligence of the Individual Defendants,
17 who are each directors and/or senior officers of Senomyx.
18         38.   As a direct result of Defendants’ negligent preparation, review, and
19 dissemination of the false and/or misleading Recommendation Statement, Plaintiffs
20 and the Class are impeded from exercising their right to seek appraisal on a fully
21 informed basis and are induced to tender their shares and accept the inadequate Offer
22 Price in connection with the Proposed Transaction. The false and/or misleading
23 Recommendation Statement used to solicit the tendering of shares impedes Plaintiffs
24 and the Class from making a fully informed decision regarding the Tender Offer and
25 is an essential link in consummating the Proposed Transaction, which will deprive
26 them of full and fair value for their Senomyx shares. At all times relevant to the
27 dissemination of the materially false and/or misleading Recommendation Statement,
28 Defendants were aware of and/or had access to the true facts concerning the process
                                           12
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.13 Page 13 of 19



 1 involved in selling Senomyx, the projections for Senomyx, and Senomyx’s true
 2 value, which is greater than the Offer Price Senomyx’s shareholders will recieve.
 3 Thus, as a direct and proximate result of the dissemination of the false and/or
 4 misleading Recommendation Statement Defendants used to obtain shareholder
 5 approval of and thereby consummate the Proposed Transaction, Plaintiffs and the
 6 Class will suffer damage and actual economic losses (i.e., the difference between the
 7 price Senomyx shareholders receive and the true value of their shares) in an amount
 8 to be determined at trial.
 9         39.     The misrepresentations and omissions in the Recommendation
10 Statement are material in that a reasonable shareholder would consider them
11 important in deciding whether to tender their shares in the Tender Offer. In addition,
12 a reasonable investor would view a full and accurate disclosure as having
13 significantly altered the “total mix” of information made available in the
14 Recommendation Statement and in other information reasonably available to
15 shareholders.
16                                        COUNT II
17       Against the Individual Defendants for Violations of Section 20(a) of the
18                                      Exchange Act
19         40.     Plaintiffs repeat and reallege the preceding allegations as if fully set
20 forth herein.
21         41.     The Individual Defendants acted as controlling persons of Senomyx
22 within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue
23 of their positions as officers and/or directors of Senomyx and participation in and/or
24 awareness of the Company’s operations and/or intimate knowledge of the false and
25 misleading statements contained in the Recommendation Statement, they had the
26 power to influence and control and did influence and control, directly or indirectly,
27 the decision making of the Company, including the content and dissemination of the
28 various statements that Plaintiffs contend are false and misleading.
                                             13
                                  CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.14 Page 14 of 19



 1         42.   Each of the Individual Defendants was provided with or had unlimited
 2 access to copies of the Recommendation Statement alleged by Plaintiffs to be
 3 misleading prior to and/or shortly after these statements were issued and had the
 4 ability to prevent the issuance of the statements or cause them to be corrected.
 5         43.   In particular, each of the Individual Defendants had direct and
 6 supervisory involvement in the day-to-day operations of the Company, and,
 7 therefore, is presumed to have had the power to control and influence the particular
 8 transactions giving rise to the violations as alleged herein, and exercised the same.
 9 The Recommendation Statement contains the unanimous recommendation of the
10 Individual Defendants to approve the Transaction. They were thus directly involved
11 in the making of the Recommendation Statement.
12         44.   By virtue of the foregoing, the Individual Defendants violated Section
13 20(a) of the Exchange Act.
14         45.   As set forth above, the Individual Defendants had the ability to exercise
15 control over and did control a person or persons who have each violated Section
16 14(e) of the Exchange Act, by their acts and omissions as alleged herein. By virtue
17 of their positions as controlling persons, these defendants are liable pursuant to
18 Section 20(a) of the Exchange Act. As a direct and proximate result of the Individual
19 Defendants’ conduct, Plaintiffs and the Class will suffer damage and actual
20 economic losses (i.e., the difference between the price Senomyx shareholders stand
21 to receive and the true value of their shares) in an amount to be determined at trial.
22                                RELIEF REQUESTED
23         WHEREFORE, Plaintiff demands relief in his favor and in favor of the
24 Class and against the Defendants jointly and severally, as follows:
25      A. Declaring that this action is properly maintainable as a Class Action and
26 certifying Plaintiff as Class Representative and his counsel as Class Counsel;
27      B. Preliminarily and/or permanently enjoining Defendants and their counsel,
28 agents, employees and all persons acting under, in concert with, or for them, from
                                           14
                                CLASS ACTION COMPLAINT
     Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.15 Page 15 of 19



 1 proceeding with, consummating, or closing the Proposed Transaction, unless and
 2 until Defendants disclose the material information identified above which has been
 3 omitted from the Recommendation Statement;
 4      C. Rescinding, to the extent already implemented, the Merger Agreement or any
 5 of the terms thereof, or granting Plaintiff and the Class rescissory damages;
 6      D. Directing the Defendants to account to Plaintiff and the Class for all damages
 7 suffered as a result of their wrongdoing;
 8      E. Awarding Plaintiff the costs and disbursements of this action, including
 9 reasonable attorneys’ and expert fees and expenses; and
10      F. Granting such other and further equitable relief as this Court may deem just
11 and proper.
12                                    JURY DEMAND
13         Plaintiff demands a trial by jury.
14    DATED: October 10, 2018                   Respectfully submitted,

15    OF COUNSEL                                /s/ David E. Bower____________
16                                              David E. Bower SBN 119546
      MONTEVERDE & ASSOCIATES                   MONTEVERDE & ASSOCIATES
17    PC                                        PC
18    Juan E. Monteverde                        600 Corporate Pointe, Suite 1170
      The Empire State Building                 Culver City, CA 90230
19    350 Fifth Avenue, Suite 4405              Tel: (213) 446-6652
                                                Fax: (212) 202-7880
20    New York, New York 10118                  Email: dbower@monteverdelaw.com
      Tel: 212-971-1341
21    Fax: 212-202-7880                         Counsel for Plaintiff
22    Email:
      jmonteverde@monteverdelaw.com
23
24    Counsel for Plaintiff

25
26
27
28
                                            15
                                 CLASS ACTION COMPLAINT
DocuSign Envelope ID: D23B6E1E-CB7C-4B00-B66E-46F6C96A638B
           Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.16 Page 16 of 19



                                 CERTIFICATION OF PROPOSED LEAD PLAINTIFF

                             Gordon Link
                         I, ________________________ (“Plaintiff”), declare, as to the claims asserted

                under the federal securities laws, that:


                1.       Plaintiff has reviewed a draft of the complaint and has authorized the filing of a
                         complaint substantially similar to the one reviewed.

                2.       Plaintiff selects Monteverde & Associates PC and any firm with which it affiliates
                         for the purpose of prosecuting this action as my counsel for purposes of
                         prosecuting my claim against defendants.

                3.       Plaintiff did not purchase the security that is the subject of the complaint at the
                         direction of Plaintiff’s counsel or in order to participate in any private action
                         arising under the federal securities laws.

                4.       Plaintiff is willing to serve as a representative party on behalf of a class, including
                         providing testimony at deposition and trial, if necessary.

                5.       Plaintiff sets forth in the attached chart all the transactions in the security that is
                         the subject of the complaint during the class period specified in the complaint.

                6.       In the past three years, Plaintiff has not sought to serve nor has served as a
                         representative party on behalf of a class in an action filed under the federal
                         securities laws, unless otherwise specified below.

                7.       Plaintiff will not accept any payment for serving as a representative party on
                         behalf of a class beyond Plaintiff’s pro rata share of any recovery, except such
                         reasonable costs and expenses (including lost wages) directly relating to the
                         representation of the Class as ordered or approved by the Court.

                         I declare under penalty of perjury under the laws of the United States that the
                         foregoing information is correct to the best of my knowledge.


                         Signed this ____
                                     10th day of _________________,
                                                  October           2018.


                                                                _____________________________
                                                                            Signature
DocuSign Envelope ID: D23B6E1E-CB7C-4B00-B66E-46F6C96A638B
           Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.17 Page 17 of 19




                        Company                  Transaction               Trade Date          Quantity
                                                   (Purchase or Sale)
                       Name/Ticker
                SNMX                           Purchase                 12/27/2004      770

                SNMX                           Purchase                 8/17/2005       74

                SNMX                           Purchase                 12/22/2006      207

                SNMX                          Purchase                  4/17/2008       695
               SNMX                           Sale                      10/17/2008      1746

               SNMX                            Purchase                 3/2/2010        663

               SNMX                            Sale                     3/19/2010       663

               SNMX                           Purchase                  1/11/2012       1200

                SNMX                           Purchase                 2/23/2012       1540

                SNMX                          Sale                      7/11/2012       2740

               SNMX                           Purchase                  6/17/2014       360

               SNMX                           Purchase                  6/18/2014       1065

               SNMX                           Purchase                  7/11/2014       184

               SNMX                           Purchase                  9/4/2015        213

                SNMX                          Purchase                  2/9/2018        3900
                Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.18 Page 18 of 19
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Gordon Link                                                                                                 Senomyx, Inc., Kent Snyder, John Poyhonen, Stephen A. Block, Tom
                                                                                                            Erdmann, Mary Ann Gray, Dan Stebbins, and Christopher J. Twomey

    (b) County of Residence of First Listed Plaintiff             Manassas, VA                                County of Residence of First Listed Defendant              San Diego, CA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
David E. Bower, Monteverde & Associates PC, 600 Corporate Pointe,
Suite 1170, Culver City, CA 90230, (213) 446-6652                                                                                                      '18CV2336 BAS WVG

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           15 U.S.C. § 78n(e); 15 U.S.C. § 78t(a)
VI. CAUSE OF ACTION Brief description of cause:
                                           Violations of Sections 14(e) and 20(a) of the Securities Exchange Act of 1934
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
10/10/2018                                                              /s/ David Bower
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
              Case 3:18-cv-02336-BAS-WVG Document 1 Filed 10/10/18 PageID.19 Page 19 of 19
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
